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                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 BETHUNE-COOKMAN UNIVERSITY,
 INC.

       Plaintiff,                                Case No.: 6:22-cv-47-WWB-DAB

 v.

 DR. MARY MCLEOD BETHUNE
 NATIONAL ALUMNI ASSOCIATION,
 INC., MARY MCLEOD BETHUNE
 NATIONAL ALUMNI ASSOCIATION,
 INC. and JOHNNY L. MCCRAY,
 JR., individually,

      Defendants.
 ___________________________________

      DEFENDANTS' RESPONSE IN OPPOSITION TO PLAINTIFF'S MOTION FOR
                              CONTEMPT

       Defendants hereby respond to Plaintiff’s Motion for Contempt and Supplement to

 its Motion for Contempt [D.E. 104 and 108] and state as follows:

       Plaintiff claims that the Defendants have failed to comply with this Court's August

 4, 2023 Fee Award Order ("Order") [D.E. 87]. However, civil contempt is defined as a

 willful disregard of the authority of the court. See Riccard v. Prudential Ins. Co. of Am.,

 307 F.3d 1277, 1296 (11th Cir. 2002). To establish civil contempt, clear and convincing

 evidence must show that: 1) the allegedly violated order was valid and lawful, 2) the order

 was clear and unambiguous, and 3) the alleged violator had the ability to comply with the

 order. Id. Additionally, the alleged contemnor must fail to demonstrate that they have

 made "in good faith all reasonable efforts" to meet the terms of the court order they seek

 to avoid (Commodity Futures Trading Comm'n v. Wellington Precious Metals, Inc., 950




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 F.2d 1525, 1529 (11th Cir. 1992); S.E.C. v. Solow, 682 F. Supp. 2d 1312, 1326 (S.D.

 Fla.), aff'd, 396 F. App'x 635 (11th Cir. 2010)).

        Defendants filed Objections to Judge Norway’s July 12, 2023 order [D.E. 83] that

 awarded Plaintiff’s attorneys fees, which is still pending adjudication by this Court.

 Because the Objections were still under the Court’s consideration, Defendants believed

 that the Order would also be subject to that pending adjudication. The award of attorney’s

 fees in Judge Norway’s order was specifically objected to in Defendants’ Objections, and

 so Defendants expected that no payment of fees would be required until the Court had

 ruled on its Objections. Moreover, Defendants aver that the Order was not lawful. Under

 the lodestar approach, fee applicants are required to exercise “billing judgment.” If the

 applicants do not exclude “excessive, redundant, or otherwise unnecessary” hours, the

 court must exercise billing judgment for them. See Am. C.L. Union of Georgia v. Barnes,

 168 F.3d 423, 428 (11th Cir. 1999). The number of hours (a combined 55.1 hours) Plaintiff

 allegedly expended in filing its non-complex Renewed Motion to Compel [D.E. 79], is

 categorically unreasonable. Therefore, the Court’s grant of Plaintiff’s Motion for Attorney’s

 Fees was contrary to law.

        Defendants concede that the Court’s Order was clear and unambiguous.

        Defendants are unable to comply with the Court’s Order. Plaintiff claims that recent

 financial reports demonstrate Defendants' ability to comply with the Fee Award Order.

 This is not true. Complying with the Order would render the Defendants insolvent.

 Defendants have had to establish a legal fund just to keep up with their own legal fees

 and costs in this litigation. Defendants are willing to file their financial reports and bank

 statements under seal for the Court’s consideration on this issue.




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       For the aforementioned reasons, Defendants respectfully request that the Court

 deny Plaintiff's Motion for Contempt.

                                          Respectfully Submitted,

                                   By:    /s/Shaunette Stokes
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                                          Attorney for Defendants


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 22nd day of September 2023, a true and correct

 copy of the foregoing document was filed electronically with the Clerk of Court using the

 CM/ECF system and was served upon the following via the CM/ECF system:

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